Case 2:10-cv-00124-DDP-JEM Document 540 Filed 12/12/16 Page 1 of 4 Page ID #:11995




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    7
    8                             UNITED STATES DISTRICT COURT
    9                           CENTRAL DISTRICT OF CALIFORNIA
   10
   11   SECURITIES AND EXCHANGE      )                         CASE NO. CV 10-0124-DDP(JEMx)
        COMMISSION,                  )
   12                                )                         [REVISED] ORDER APPROVING
                   Plaintiff,        )                         MOTION TO: (1) APPROVE FINAL
   13                                )                         ACCOUNT AND REPORT; (2)
              v.                     )                         APPROVE APPLICATION FOR
   14                                )                         FINAL RECEIVER’S FEES AND
        NEWPOINT FINANCIAL SERVICES, )                         EXPENSES; (3) ESTABLISH
   15   INC.; JOHN FARAHI; GISSOU    )                         LIQUIDATING TRUST; AND (4)
        RASTEGAR FARAHI; and ELAHEH )                          DISCHARGE RECEIVER
   16   AMONE,                       )
                                     )
   17              Defendants.       )
                                     )
   18         and                    )
                                     )
   19   TRIPLE “J” PLUS, LLC,,       )
                                     )
   20              Relief Defendant. )
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        13390.10:2713643.1
            ORDER APPROVING MOTION TO: (1) APPROVE FINAL ACCOUNT AND REPORT; (2) APPROVE APPLICATION FOR FINAL
                    RECEIVER’S FEES AND EXPENSES; (3) ESTABLISH LIQUIDATING TRUST; AND (4) DISCHARGE RECEIVER
Case 2:10-cv-00124-DDP-JEM Document 540 Filed 12/12/16 Page 2 of 4 Page ID #:11996




    1            The Motion to: (1) Approve Final Account and Report; (2) Approve
    2   Application for Final Receiver’s Fees and Expenses; (3) Establish Liquidating Trust;
    3   and (4) Discharge Receiver; Memorandum of Points and Authorities; Declarations
    4   of James H. Donell, Byron Z. Moldo, Susan P. Tomlinson and Howard Grobstein
    5   (“Motion”), having been filed with the Court, and notice of the Motion having been
    6   provided to all interested parties, the matter came on regularly for hearing on
    7   December 12, 2016 at 10:00 A.M. in Courtroom 9C of the above-entitled Court
    8   before the Honorable Dean D. Pregerson, United States District Judge. Byron Z.
    9   Moldo of Ervin Cohen & Jessup LLP (“ECJ”) appeared on behalf of James H.
   10   Donell, Permanent Receiver; James H. Donell, Permanent Receiver (“Receiver”)
   11   appeared; other parties appeared as reflected in the Court’s minutes.
   12            The Court having read and considered the Motion, the response of the
   13   Securities and Exchange Commission to the Motion, hearing the statements and
   14   comments of counsel, and determining that the establishment of a liquidating trust
   15   as proposed by the Receiver in the Motion is not necessary, good cause appearing
   16   therefor, the Court enters its order as follows:
   17            1.     IT IS HEREBY ORDERED that the Motion is approved, settled and
   18   allowed herewith.
   19            2.     IT IS FURTHER ORDERED that the receivership established in this
   20   matter is terminated, and the Receiver is discharged from all further duties,
   21   liabilities and responsibilities.
   22            3.     IT IS FURTHER ORDERED that the Receiver’s total fees and costs
   23   are approved on a final basis in the amount of $811,739.87 fees, and $27,592.32
   24   costs.
   25            4.     IT IS FURTHER ORDERED that the total fees and costs of Ervin
   26   Cohen & Jessup LLP (“ECJ”) are approved on a final basis in the amount of
   27   $2,553,421.70 fees, and $150,526.27 costs.
   28   13390.10:2713643.1                                2
            ORDER APPROVING MOTION TO: (1) APPROVE FINAL ACCOUNT AND REPORT; (2) APPROVE APPLICATION FOR FINAL
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Case 2:10-cv-00124-DDP-JEM Document 540 Filed 12/12/16 Page 3 of 4 Page ID #:11997




    1           5.      IT IS FURTHER ORDERED that the total fees and costs of Crowe
    2   Horwath LLP (“Crowe”) are approved on a final basis in the amount of $940,000.00
    3   fees, and $10,778.67 costs.
    4           6.      IT IS FURTHER ORDERED that the total fees and costs of Grobstein
    5   Teeple Financial Advisory Services, LLP (now known as Grobstein Teeple LLP)
    6   (“Grobstein”) are approved on a final basis in the amount of $71,503.50 fees, and
    7   $225.30 costs.
    8           7.      IT IS FURTHER ORDERED that all interim orders approving payment
    9   of fees and costs to the Receiver, ECJ, Crowe, and Grobstein are ratified.
   10           8.      IT IS FURTHER ORDERED that the Receiver is authorized to pay the
   11   Receiver the amount of $123,135.78 fees which includes $97,330.33 previously
   12   approved but held back, and $5,649.08 costs.
   13           9.      IT IS FURTHER ORDERED that the Receiver is authorized to pay
   14   ECJ the amount of $380,052.00 fees which includes $318,826.75 previously
   15   approved but held back, and $13,071.32 costs.
   16           10.     IT IS FURTHER ORDERED that the Receiver is authorized to pay
   17   Crowe the amount of $24,538.79 fees, and $11.95 costs.
   18           11.     IT IS FURTHER ORDERED that the Receiver is authorized to pay
   19   Grobstein the amount of $51,573.50 fees, and $53.47 costs.
   20           12.     IT IS FURTHER ORDERED that after paying the outstanding amounts
   21   due to the Receiver, ECJ, Crowe, and Grobstein, the Receiver is authorized and
   22   instructed to distribute the remaining funds in his possession, on a pro rata basis, to
   23   Court-approved claimants no later than December 31, 2016.
   24           13.     IT IS FURTHER ORDERED that the Receiver is authorized to assign
   25   to James H. Donell, personally, the outstanding judgment in the amount of
   26   $13,431.12 and settlement agreement in the amount of $14,100.00, as shown on
   27   Exhibit “H” attached to the Application, and to execute any and all documents
   28   associated therewith.
        13390.10:2713643.1                                3
            ORDER APPROVING MOTION TO: (1) APPROVE FINAL ACCOUNT AND REPORT; (2) APPROVE APPLICATION FOR FINAL
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Case 2:10-cv-00124-DDP-JEM Document 540 Filed 12/12/16 Page 4 of 4 Page ID #:11998




    1           14.     IT IS FURTHER ORDERED that the Receiver and the Receivership
    2   Estate shall be held free and harmless from any and all claims that may arise in the
    3   future that relate to the Receiver and/or the Receivership Estate.
    4           15.     IT IS FURTHER ORDERED that all of the Receiver’s acts,
    5   transactions and all of his actions, including the actions of his employees, attorneys
    6   and agents, as Receiver herein for the Receivership period are ratified, confirmed
    7   and approved as being right and proper, and in the best interests of the Receivership
    8   Estate and the parties to this action.
    9           16.     IT IS FURTHER ORDERED that all distributions for compensation
   10   and costs to the Receiver, his attorneys and accountants made during the
   11   Receivership Estate are ratified, confirmed and approved.
   12           17.     IT IS FURTHER ORDERED that the Receiver, his attorneys,
   13   accountants, agents and/or employees and those acting on behalf of the Receivership
   14   Estate are released from all liability for any and all claims, demands or causes of
   15   action that may have directly or indirectly arisen from the administration of the
   16   Receivership Estate prior to, during or after the Receivership period, that were not
   17   brought before the Court before the time of hearing on the Receiver’s final account
   18   and report.
   19           18.     IT IS FURTHER ORDERED that the Receiver is directed to maintain
   20   all books and records of the Receivership Estate for six (6) months from the date of
   21   entry of this order, except as otherwise ordered by the Court.
   22           19.     IT IS FURTHER ORDERED that the Receiver is authorized to
   23   abandon and/or destroy all books and records of the Receivership Estate under his
   24   control no earlier than six (6) months after the date of entry of this order.
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   26
   27   DATED: December 12, 2016
                                                    THE HONORABLE DEAN D. PREGERSON
   28                                               UNITED
        13390.10:2713643.1                             4 STATES DISTRICT JUDGE
            ORDER APPROVING MOTION TO: (1) APPROVE FINAL ACCOUNT AND REPORT; (2) APPROVE APPLICATION FOR FINAL
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